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                                    IN THE




 IN RE CINEMARK HOLDINGS, INC., AMC ENTERTAINMENT HOLDINGS, INC., AND
                    REGAL ENTERTAINMENT GROUP,
                                             Petitioners.



 On Petition for a Writ of Mandamus to the United States District Court for the
Eastern District of Texas in Case Nos. 2:19-CV-00266-JRG, 2:19-CV-00265-JRG,
                               2:19-CV-00267-JRG
                              Judge Rodney Gilstrap



  NON-CONFIDENTIAL RESPONSE TO PETITION FOR MANDAMUS



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                                  INTRODUCTION

       Defendants/Petitioners Cinemark Holdings, Inc. (“Cinemark”), AMC

Entertainment Holdings, Inc. (“AMC”), and Regal Entertainment Group (“Regal”

and, with Cinemark and AMC, “Petitioners”) cannot meet their high burden to

establish a right to mandamus. “[T]he remedy of mandamus is ‘strong medicine’ to

be reserved for the most serious and critical ills, and if a rational and substantial legal

argument can be made in support of the rule in question, the case is not appropriate

for mandamus[.]” In re Cordis Corp., 769 F.2d 733, 737 (Fed. Cir. 1985). The

district court did not err and did not commit any “clear abuses of discretion” such

that refusing transfer produced a “patently erroneous result[]” as required for

mandamus in the context of 28 U.S.C. § 1404(a). In re Volkswagen of Am., Inc.,

545 F.3d 304, 312 (5th Cir. 2008) (en banc) (“Volkswagen II”).

       First, the district court did not err in finding that the first-to-file rule does not

require transfer of these cases to the United States District Court for the Northern

District of California from the United States District Court for the Eastern District

of Texas. Contrary to Petitioners’ claims, the first-to-file rule requires transfer of a

later-filed case only where the overlap between them is “complete or nearly

complete.” In re ASM Int’l, N.V., 774 F. App’x 650, 652 (Fed. Cir. 2019) (internal

quotation marks and citations omitted). In these cases there is no overlap in the

accused infringers between the first-filed declaratory judgment action filed by Dolby



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Laboratories, Inc. (“Dolby”) in the Northern District of California and Intertrust

Technologies Corporation’s (“Intertrust”) cases against Petitioners—the three

largest national theater chains—in the Eastern District of Texas. Moreover, there

are important differences in the equipment at issue in the cases; the Dolby action

involves only Dolby digital cinema products, whereas Petitioners use a variety of

digital cinema equipment from several different suppliers to infringe Intertrust’s

asserted patents by playing movies.       Indeed, notwithstanding Petitioners’ new

attempt to cast these cases as customer suits, Petitioners previously disclaimed any

argument that these cases are properly deemed customer suits precisely because

Petitioners use non-Dolby equipment (including non-Dolby image media blocks) in

their alleged infringement. Despite Petitioners’ singular focus on Dolby in their

arguments, none of the Petitioners is supplied solely by Dolby, see Br. at 15, and as

little as     of the Regal IMBs at issue are Dolby IMBs. Other digital cinema

components used by Petitioners and incorporated in Intertrust’s infringement

contentions are not supplied by Dolby at all. Given the differences in parties and

products at issue, it is clear that the overlap between these cases and the Dolby action

is not so “complete or nearly complete” as to require transfer.

       The decision not to transfer under the first-to-file rule or a balancing of the

private and public interest factors considered under 28 U.S.C. § 1404(a) was thus

firmly committed to the district court’s discretion. Petitioners take issue with nearly



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every contested aspect of that discretionary analysis, but prove no clear abuse of

discretion by the district court in weighing the competing considerations.

Importantly, Petitioners are headquartered either in (Cinemark) or substantially

closer to (AMC and Regal) the Eastern District of Texas, a fact they have tried to

minimize throughout the proceedings on their motion by pointing exclusively to

Dolby. The district court correctly rejected this narrative, consistently recognizing

that Dolby is a part of this case, but that it would be wrong to focus solely on Dolby

and ignore Petitioners, their evidence, and their witnesses—almost all of which are

in or closer to Texas—in analyzing convenience. Petitioners may dispute how the

district court struck that balance, but the extraordinary remedy of mandamus is

simply not warranted on these facts. The district court’s ruling is entitled to

substantial deference and should not be disturbed.


                              ISSUES PRESENTED

      1.     Whether the district court committed a clear abuse of discretion,

yielding a patently erroneous result, that would warrant the extraordinary relief of

mandamus by declining to apply the first-to-file rule to cases involving parties,

infringements, and products different from those at issue in an earlier-filed action.

      2.     Whether Petitioners—one headquartered in the Eastern District of

Texas and two headquartered considerably closer to Texas than to California—have

demonstrated that the district court’s denial of their motion to transfer venue under


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28 U.S.C. § 1404(a) to the Northern District of California, based on Petitioners’

failure to establish that the Northern District of California is a clearly more

convenient forum, was a clear abuse of discretion that produced a patently erroneous

result warranting mandamus relief.


        FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       A.    Intertrust’s Digital Cinema Patent Enforcement Efforts Against
             Petitioners

       Intertrust pioneered digital rights management and developed the architecture

to create the trusted computing environment needed for commercially viable digital

rights management (“DRM”). Dkt. No. 1 ¶ 8.1 Intertrust’s patented technology

enabled distribution of software, music, books, and video over the Internet, and

provided for secure processing in a distributed environment. Id. More recently,

Intertrust invented methods and systems for protecting high-value content, such as

original-release commercial motion pictures, when these content assets are

distributed to exhibitors, such as commercial movie theaters. Id. ¶ 9. Intertrust’s

asserted patents provide detailed teaching of a security architecture that has been

used for the last decade by the cinema industry to securely distribute original-release

and other high-value content in digital form. Id. ¶ 12. This Intertrust technology




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      All docket references are to Intertrust Techs. Corp. v. Cinemark Holdings,
Inc., No. 19-cv-266-JRG (E.D. Tex.) (Lead Case) unless otherwise specified.

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was adopted by the cinema industry through specifications developed and

promulgated by Digital Cinema Initiatives, LLC (“DCI”). Id. ¶ 13. The original

DCI specification was released in 2005, with widespread distribution of feature films

in digital format following a few years later; today, almost all feature films are now

distributed digitally, using the DCI specification. Id. ¶ 14.

      Petitioners are the three largest national theater chains in the United States.

Each shows digital movies on equipment that is certified as compliant with the DCI

specification. This equipment includes image media blocks (“IMBs”) made by

Dolby, Barco, GDC, and Sony and digital projectors made by at least Christie

Digital, Barco, Sony, and NEC. See, e.g., Appx23, Appx30, Appx37, Dkt. Nos. 135,

133-1. The digital cinema systems used by Petitioners may also incorporate other

components, including Theater Management Systems, link encryptors and

decryptors, and outboard media blocks. Appx31.

      In April 2018, Intertrust sent letters to Petitioners alleging that they were

infringing Intertrust’s patents by exhibiting movies using unlicensed DCI-compliant

equipment and inviting them to engage in licensing negotiations. See, e.g., Dolby

Labs., Inc. v. Intertrust Techs. Corp., No. 3:19-cv-03371-EMC, Dkt. No. 32 ¶ 26




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(N.D. Cal. Aug. 23, 2019) (“Dolby”). On August 7, 2019, Intertrust sued Petitioners

in separate actions on August 7, 2019 in the Eastern District of Texas. Dkt. No. 1. 2

       B.    The Dolby Action

       After Intertrust sent its April 2018 letters to Petitioners, but before Intertrust

filed suit against them, Dolby filed a declaratory judgment action against Intertrust

in the Northern District of California on June 13, 2019. See Dolby, Dkt. No. 1.

Although Dolby filed its complaint against Intertrust before Intertrust filed its

complaints against Petitioners, the pleadings in Dolby were not joined until

January 8, 2020. Dolby, Dkt. No. 66.

       C.    The Proceedings Below

       Petitioners waited well over three months after Intertrust filed these cases,

until November 27, 2019, to file their motion to transfer these cases to the Northern

District of California. Dkt. No. 28. The parties fully briefed Petitioners’ motion,

submitting more than 80 exhibits, and completed the briefing on January 13, 2019.

See Dkt. Nos. 28, 45, 47, 49. Petitioners continued to litigate the cases for more than

seven months after the briefing on their motion was complete before finally

requesting a hearing on their motion on August 21, 2020. Dkt. No. 128. The district

court held a hearing on the Petitioners’ motion on September 2, 2020. Appx1,


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      An individual complaint was filed in each action (Case Nos. 2:19-cv-265,
2:19-cv-266, 2:19-cv-267) before the district court consolidated the cases on
October 21, 2019. Dkt. No. 8; Opinion at 2 n.1.

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Appx4. At the conclusion of the hearing, the district court informed the parties that

he would deny the motion in a written memorandum opinion to follow. Appx52;

Dkt. No. 134.    On September 30, 2020, the district court issued a 17-page

memorandum opinion and order denying Petitioners’ motion to transfer.            See

Opinion.


                    REASONS FOR DENYING THE WRIT

      Petitioners “bear[] a heavy burden to overturn the district court’s transfer

decision.” In re Apple Inc., No. 20-104, 2019 U.S. App. LEXIS 39376, at *4 (Fed.

Cir. Dec. 20, 2019). The Court may grant mandamus under such circumstances only

upon a showing that the denial was a “‘clear’ abuse of discretion such that refusing

transfer produced a ‘patently erroneous result.’” In re TS Tech USA Corp., 551 F.3d

1315, 1318-19 (Fed. Cir. 2008) (quoting Volkswagen II, 545 F.3d at 310); see also

Cheney v. U.S. Dist. Ct. for Dist. of Columbia, 542 U.S. 367, 380-81 (2004)

(requiring that a petitioner seeking mandamus establish that the right to relief is

“clear and indisputable”) (internal quotation marks and citations omitted). This

standard is “an exacting one, requiring the petitioner to establish that the district

court’s decision amounted to a failure to meaningfully consider the merits of the

transfer motion.” In re Apple, No. 20-115, 2020 WL 2125340, at *1 (Fed. Cir. May

5, 2020). Mandamus is issued sparingly; “[i]t is a ‘drastic and extraordinary’ remedy




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‘reserved for really extraordinary causes.’” Cheney, 542 U.S. at 380 (quoting Ex

parte Fahey, 332 U.S. 258, 259-260 (1947)).

      There is no clear abuse of discretion, patently erroneously result, or

extraordinary circumstances that would warrant mandamus relief in these cases for

the following reasons:

I.    THE DISTRICT COURT’S CONCLUSION THAT THE FIRST-TO-
      FILE RULE DOES NOT REQUIRE TRANSFER IS NOT PATENTLY
      ERRONEOUS

      Petitioners first contend that the district court erred by failing to apply the

“first-to-file” rule, arguing that courts do not require complete identity of parties and

issues between the first- and later-filed suits to transfer an action. But as this Court

has repeatedly recognized, the “first-to-file” rule applies to require transfer only

“‘when two cases are the same or very similar.’” See, e.g., ASM Int’l, 774 F. App’x

at 652 (quoting In re Telebrands Corp., 773 F. App'x 600, 602 (Fed. Cir. 2016)).

“[W]here the overlap between the two cases is not ‘complete or nearly complete,’

[this Court] generally defer[s] to a district court’s reasoned assessment of ‘the extent

of overlap, the likelihood of conflict, the comparative advantage and the interest of

each forum in resolving the dispute.’” Id. (quoting Telebrands, 773 F. App’x at

602); see also Telebrands, 773 F. App’x at 602 (“Where the overlap [between the

first-filed and later-filed case] is complete or nearly complete, the usual rule is for




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the court of first jurisdiction to resolve the issues. But where there is less overlap,

the second district court has considerably more discretion.”).

      The overlap between these cases and the Dolby case is clearly not “complete

or nearly complete” as to require transfer under the first-to-file rule and, accordingly,

the Court should give deference to the district court’s “reasoned assessment” that

transfer to the Northern District of California is not warranted. ASM Int’l, 774 F.

App’x at 652 (internal quotation marks and citations omitted). Indeed, Petitioners’

oblique presentation of the issue below—folded into the analysis of the public

interest factors to be considered in the convenience analysis rather than a standalone

ground compelling transfer—confirms Petitioners have always appreciated that

these cases do not fit within the scope of the first-to-file rule. See, e.g., Dkt. No. 28

at 13 (section of Petitioners’ moving papers entitled “The Public Interest Underlying

the First-To-File Rule Favors Transfer”). Petitioners were correct not to raise the

first-to-file rule so squarely below: Although the same patents are asserted in both

these cases and the Dolby case, the cases involve different parties, different

infringement theories and time periods, and different accused instrumentalities.

      First, not only are the parties not identical, there is no overlap among the

accused infringers at all. Intertrust did not merely add a party to circumvent the first-

to-file rule; it sued three entirely different entities. The claims in these cases are not

mere mirror-images of a first-filed suit between the same parties vying for a more



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favorable venue; Intertrust is suing different infringers. Petitioners do not face

lawsuits with Intertrust in two forums on the same issues; in fact, they do not face

lawsuits with Intertrust in two forums on any issues. This significant difference

alone confirms the overlap among the cases is not “‘complete or nearly

complete.’“ ASM Int’l, 774 F. App’x at 652.

       Moreover, although the same patents are asserted against Petitioners and

Dolby, the infringement theories and contentions are different, as will be the proof

of infringement at trial. The Dolby case relates primarily to Dolby’s indirect

infringement of Intertrust’s patents through its sale of equipment to induce movie

theaters to infringe;3 in these cases, Intertrust alleges that Petitioners directly infringe

Intertrust’s patents through their use and maintenance of complex digital cinema

systems comprised of many components, not merely IMBs, to exhibit digital movies.

       Although it is true that some of Petitioners’ direct infringements will be at

issue in establishing Dolby’s indirect infringement in the Dolby case, Petitioners

overstate the extent of the overlap. Because of the knowledge requirement for

indirect infringement, see, e.g., Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S.

754, 765-66 (2011), only Petitioners’ direct infringements that occurred after Dolby




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      The Dolby case also includes allegations of direct infringement (believed to
occur primarily from testing and demonstrations) and contributory infringement.
See generally Dolby, Dkt. No. 63 (Dec. 11, 2019) (Intertrust’s counterclaims).

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had notice of Intertrust’s asserted patents are at issue, whereas the full scope of

Petitioners’ direct infringements over the entire damages limitations period is at

issue in these cases.

       Further, as Intertrust’s infringement contentions in these cases—which were

part of the extensive factual record before the district court—make clear, there are

other equipment components that can meet numerous limitations of the asserted

patent claims. For example, an Outboard Media Block (“OMB”) is a separate and

distinct component that independently meets most of the same asserted claim

limitations as the IMB. Dkt. Nos. 45-25, 45-26, 45-27, 45-29, 45-30, 45-31, 45-32,

45-33, 45-34 (referencing “Media Block(s)”); see also Dkt. No. 45-14 at 82, 86, 91

(“Media Block” includes both IMB and OMB). In addition, several limitations of a

previously-asserted apparatus claim of U.S. Patent No. 8,191,157, can be met by the

link decryptor secure processing block, the screen management system, or theater

management system—all of which are also separate and distinct from the IMB. See

Dkt. No. 45-20.4 The same holds true for many limitations of the asserted method

claims. See Dkt Nos. 45-25, 45-27, 45-29, 45-30, 45-31, 45-32, 45-33. Petitioners’

portrayal of these cases as arising solely from their use of Dolby IMBs rather than




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       The apparatus claim was dropped on September 25, 2020, after the district
court denied Petitioners’ motion transfer at the hearing, as part of a stipulated claim-
and invalidity reference-narrowing schedule. See Dkt. No. 142.

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the configuration, installation and use of complex digital cinema systems to exhibit

digital content is not accurate.5

       Even if IMBs were the only equipment relevant to Intertrust’s infringement

allegations (and they are not), Petitioners’ arguments in support of mandamus all but

ignore that these cases involve a significant number of non-Dolby IMBs. For

example, notwithstanding Petitioners’ intensely Dolby-centric narrative, after

excluding licensed Sony IMBs, only               of the screens Regal uses to allegedly

infringe Intertrust’s asserted patents use Dolby IMBs.6 Appx23. Accordingly, even

if they were to proceed to trial first, Intertrust’s infringement counterclaims in the

Dolby action would have no bearing on the large number of alleged infringements

caused by Regal’s exhibition of digital movies on more than               of its screens.

Although Cinemark and AMC use            Dolby IMBs, they too use non-Dolby IMBs.

Br. at 15; Appx23.     Other IMB manufacturers include Barco and GDC, both of




   5
       Petitioners argue that these additional devices are irrelevant because an IMB
is still necessarily involved in the playback of digital movies. Br. at 17-18. As
explained below, there are a large number of non-Dolby IMBs at issue in these cases
with which these other components can be combined. Moreover, the fact that they
may operate with the IMB does not make them irrelevant to the potential
infringement theories Intertrust can pursue at trial against Petitioners.
   6
       Petitioners contend that      of Regal’s non-Sony screens used Dolby IMBs
as of the filing of this lawsuit. Even at the time of filing, however, more than
      of at-issue non-Sony Regal screens did not use Dolby IMBs.

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which are the subject of pending letters rogatory issued by the district court. Dkt.

Nos. 67, 69.

      With no overlap of accused infringers, differences in infringement theories,

and significant differences in the equipment at issue, it is clear that there is no

“complete or nearly complete” overlap between these cases and the Dolby case.

      Petitioners suggest the district court “doubly” erred in failing to apply the first-

to-file rule because of the preference shown to manufacturer actions over customer

suits recognized by the customer suit exception. Br. at 15. But Petitioners expressly

disclaimed any argument that this case is a customer suit in the district court:




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Appx23-24 (emphases added). Rather, in the district court, Petitioners argued that

the “policies underlying” the customer-suit exception should be weighed among the

transfer factors. Appx24. The district court cannot have abused its discretion by

failing to apply a rule Petitioners expressly disclaimed reliance on below because it

did not apply. In any event, Petitioners’ concession below and the district court were

both correct; these cases are not true “customer suits” both because they use more

than just Dolby products to infringe and because Petitioners are not mere purchasers

and users of off-the-shelf products but rather configure digital cinema components

into complex systems that operate as a whole to infringe. See, e.g., Kahn v. Gen.

Motors Corp., 889 F.2d 1078, 1081 (Fed. Cir. 1989) (noting that “customer suits”

are transferred to the manufacturer action forum if they “would resolve all charges

against the customers in the customer suit, including liability for damages”)

(emphasis added); see also Tegic Commc’ns Corp. v. Bd. of Regents of Univ. of Tex.

Sys., 458 F.3d 1335, 1343 (Fed. Cir. 2006) (factors considered in customer-suit

analysis are (1) whether the consumers in the earlier-filed action are mere resellers

of products manufactured by the party in the earlier-filed action; (2) whether the

consumers in the earlier-filed action have agreed to be bound by any decision in the

second-filed action, and (3) whether the manufacturers in the second-filed action are

the only source of the allegedly infringing activity or product).




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       Because the district court correctly found that transfer was not required under

the first-to-file rule, the only question before this Court on mandamus review is

whether the district court abused its discretion in weighing the competing transfer

considerations. Telebrands, 773 F. App’x at 602. As explained below, it did not.

       In the absence of any legal error, Petitioners’ remaining argument is

essentially that the district court, with a full evidentiary record in front of it, did not

correctly assess whether a discretionary transfer was warranted in light of the earlier-

filed Dolby action. The district court explained its reasoning in retaining the cases:

              While there are some Dolby products at issue in this case
              which are at issue in the Dolby Action, there is not an
              identity of parties or infringement allegations. The
              Defendants’ alleged infringement does not completely
              coincide with that of Dolby and the resolution of the Dolby
              Action will not moot the issues presented here.
              Accordingly, the Court finds that the “interests of the
              public”—namely the customer-suit exception and the
              first-to-file rule—as put forward by the Defendants do not
              support or require transfer in this case.

Order at 17. Petitioners ask this Court to consider all of their arguments and

evidence of why the district court should have found there was more overlap in the

cases, notably focusing on “Petitioners’ use of the Dolby products at issue,” Br. at

13, and largely ignoring all non-Dolby issues and non-Dolby equipment, including

the different parties, Petitioners’ pre-notice direct infringement, and other equipment

manufacturers’ products at issue in these cases. (Of course, focusing only on the




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common issues and ignoring the differences is not a reliable way of measuring

whether there is sufficient overlap to warrant a discretionary transfer.)

       In this case, the district court found that the cases were not so substantially

related as to tilt the scale toward transfer and the delays it would entail. Here, as in

Telebrands, “Petitioners may take issue with the outcome of that analysis. But as a

matter of process,” that does not mean “that the Petitioners are clearly and

indisputably entitled to the relief they seek in this mandamus petition.” 773 F. App’x

at 602; see also In re Vistaprint Ltd., 628 F.3d 1342, 1346 (Fed. Cir. 2010) (“Our

reluctance to interfere [in the discretionary balancing of factors] is not merely a

formality, but rather a long-standing recognition that a trial judge has a superior

opportunity to familiarize himself or herself with the nature of the case and the

probable testimony at trial, and ultimately is better able to dispose of these

motions.”). The district court, based on the evidence before it, was in the best

possible position to assess “‘the extent of overlap, the likelihood of conflict, the

comparative advantage and the interest of each forum in resolving the dispute.’”

ASM Int’l, 774 F. App’x at 652. Even if some duplication may occur by litigating

these different cases in different courts, as Petitioners contend,7 this Court “do[es]




   7
      Notably, Petitioners have never moved to stay these cases in the district court
(except pending these this writ proceeding), belying their claims that substantial
duplication will result if these cases are not transferred.

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not reverse no-transfer decisions just for some risk of duplication.” Telebrands, 773

F. App’x at 604. The district court’s sound exercise of its discretion not to transfer

these cases pursuant to the first-to-file doctrine should not be disturbed.

II.   THE DISTRICT COURT DID NOT OTHERWISE ABUSE ITS
      DISCRETION IN DENYING TRANSFER BECAUSE THE PRIVATE
      AND PUBLIC INTEREST FACTORS DO NOT STRONGLY FAVOR
      TRANSFER

      Petitioners also contend that the district court erred in its analysis of the

private and public interest factors and asks this Court to revisit several disputed

transfer factors to determine whether the district court abused its discretion. In this

case, however, it is hard to imagine how there could be a “patently erroneous result”

warranting mandamus on these facts. As the district court noted, Petitioners’ motion

to transfer was not                                          because the movants

                                                                               Appx6.

Nevertheless, a review of the disputed factors, below, confirms there is no error that

is mandamus-worthy in the district court’s conclusion that the transfer factors do not

clearly weigh in favor of transfer.

      Before reaching specific factors, however, Petitioners contend in the abstract

that the district court erred in its analysis by stating it would draw reasonable

inferences and resolve factual conflicts in favor of the non-movant. Br. at 22. That

statement does not warrant mandamus for several reasons.                First, although

Petitioners contend this standard is “borrowed from motions to dismiss,” it has been


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applied in numerous district courts in deciding motions to transfer venue. See, e.g.,

Sleepy Lagoon, Ltd. v. Tower Grp., Inc., 809 F. Supp. 2d 1300, 1306 (N.D. Okla.

2011) (“When reviewing a motion to transfer venue under § 1404, a court may

consider evidence outside of the pleadings but must draw all reasonable inferences

and resolve factual conflicts in favor of the non-moving party.”) (citing Huang v.

Napolitano, 721 F. Supp. 2d 46, 47 n.2 (D.D.C. 2010); United States v. Gonzales &

Gonzales Bonds and Ins. Agency, Inc., 677 F. Supp. 2d 987, 991 (W.D. Tenn.

2010)); see also Thompson v. Titus Transp., LP, No. 11-CV-1338-EFM-KMH, 2012

WL 5933075, at *3 (D. Kan. Nov. 27, 2012).

        Second, although this Court recently stated in a non-precedential opinion that

it is “not convinced that this standard, which sounds like summary judgment, should

apply to a transfer motion,” In re Apple Inc., 818 F. App’x 1001, 1003 (Fed. Cir.

2020), it did not actually decide this issue.8

       Third, Petitioners do not identify any findings of fact that were impacted by

this general statement of law; the district court’s decision turned on weighing



   8
      Although the Court made this observation months in Apple before the hearing
in these cases, Petitioners did not ask the district court to apply any different rule,
even though the district court’s transfer decisions routinely include this statement of
law. See, e.g., Saint Lawrence Commc’ns LLC v. Amazon.com, Inc., No. 2:19-CV-
00027-JRG, 2019 WL 2904756, at *3 (E.D. Tex. July 5, 2019); Potter v. Cardinal
Health 200, LLC, No. 2:19-CV-00007-JRG, 2019 WL 2150923, at *2 (E.D. Tex.
May 16, 2019); Wahlstrom v. B&A Carrier LLC, No. 2:18-CV-00313-JRG, 2019
WL 130296, at *2 (E.D. Tex. Jan. 8, 2019).

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undisputed facts, not resolving factual disputes. There is certainly no indication that

the district court applied this standard to make a patently erroneous decision that

would warrant mandamus relief. See Apple, 818 F. App’x at 1003 (“[W]hatever may

be said about the validity of drawing inferences and resolving factual disputes in

favor of the non-moving party in the context of a transfer motion,” it does not change

the outcome of Petitioners’ writ because “[the Court] cannot say that [the mandamus

petitioners’] right to relief here is indisputably clear.”).

       A.     The District Court Did Not Abuse Its Discretion by Finding that
              the Access to Proof Factor Weighs Against Transfer

       Petitioners cannot show that the district court abused its discretion in finding

that the relative ease of access to proof weighs against transfer. This Court has made

clear that “the bulk of the relevant evidence usually comes from the accused

infringer.” In re Genentech, Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009). In these

cases, all three Petitioners are considerably closer to the Eastern District of Texas

than the Northern District of California, and one Petitioner (Cinemark) is

headquartered within the Eastern District of Texas in Plano, Texas:

                                         Distance in Miles as the Crow Flies
 Party (Headquarters)             Marshall, Texas                 San           Francisco,
                                                                  California
 Cinemark (Plano, Texas)          147 miles                       1,470 miles
 AMC (Leawood, Kansas)            441 miles                       1,499 miles
 Regal             (Knoxville, 642 miles                          2,117 miles
 Tennessee)


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Dkt. Nos. 45-2, 45-3, 45-4, 45-5, 45-6, 45-7.

      Petitioners fault the district court for its reliance on Genentech in view of their

arguments that third parties possess the technical documents and source code in these

cases. Br. at 24. But the district court did not rely on Genentech blindly; indeed, it

confirmed at the hearing on Petitioners’ motion that, even if technical documents

reside with third parties, there was no evidence to suggest

               with respect to where other documents—such as damages-related

documents—reside, i.e., at Petitioners’ corporate headquarters. Appx34-35.

      The district court correctly rejected Petitioners’ attempts (repeated here) to

ignore their own witnesses and evidence in and near the Eastern District of Texas

and to instead focus solely on Dolby:




Id. The district court acted well within its discretion in rejecting Petitioners’

narrative that they are not significant sources of evidence in these cases.

      Petitioners’ reliance on In re Nintendo of America, Inc., 756 F.3d 1363 (Fed.

Cir. 2014) does not assist their cause. The Court in Nintendo severed and transferred

the claims against Nintendo’s United States distribution arm to the district in which

it was headquartered because of the important sources of evidence at its


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headquarters. With the sole possible exception of product development documents,

the types of documents cited as present at Nintendo’s headquarters are precisely the

types of documents Petitioners should have at their headquarters within or closer to

the Eastern District of Texas. See id. at 1365 (“Nintendo states that [its headquarters

in the transferee venue] is where key executives work, sales and marketing decisions

concerning the accused products are made, and where it maintains documents

relating to finance, sales, licensing, contracts, advertising, and product

development.”).    If anything, Nintendo simply highlights that the location of

Petitioners’ documents on these subjects in or nearer to this district is indeed an

important consideration weighing against transfer.

      B.     The District Court Did Not Abuse Its Discretion by Finding the
             Availability of Compulsory Process Factor Was Neutral to
             Transfer

      Contrary to Petitioners’ assertion, the district court did not commit “clear

error” in finding that the availability of compulsory process factor was neutral to

transfer. Br. at 26. Intertrust identified specific individuals, including Mr. Darrow

in Plano, Tony Adamson of GDC Technology in Dallas-Fort Worth, Reiner

Doetzkies of NEC Display Solutions in Allen, and Dave Duncan, a former Texas

Instruments employee in Dallas-Fort Worth. See Dkt. No. 45 at 10 & n.9; Dkt. Nos.

45-48, 45-49, 45-52, 45-53, 45-54. Petitioners (as they do here) identified some




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inventors, Intertrust licensees, and Dolby as witnesses or a source of potentially

relevant witnesses in Northern California.9

       The district court credited the named individuals with specific knowledge in

Texas as weighing against transfer but acknowledged that “the raw number of

potential witnesses in California,” even though largely unidentified, restored this

factor to neutral. Order at 10. Here too, although Petitioners would prefer a different

conclusion, the district court weighed and credited the competing evidence of local

witnesses and their likely relevance and reached a conclusion that was not a clear

abuse of discretion. Indeed, in In re HP Inc., No. 2020-140, 2020 WL 5523561, at

*3 (Fed. Cir. Sept. 15, 2020), in which the Court clarified that the failure to identify

specific witnesses by name, if they are relevant, does not mean they should not be

considered, the Court still found that factor potentially “neutral” where, as here,

there were witnesses within the potential compulsory process of both districts.




   9
      In fact, the presence of many of the witnesses in Northern California identified
by Petitioner should be given little weight in the analysis. For example, several of
the inventors identified by Petitioners were either (i) Intertrust employees for whom
compulsory process is immaterial; (ii) deceased; or (iii) no longer relevant to these
cases. See, e.g., Appx 40-43. Moreover, it is unclear why Petitioners need the
inventors to testify live at trial in any event, given that Petitioner have not alleged
inequitable conduct or any other defense that depends on inventor testimony.
Petitioners further failed to explain why Intertrust’s licensees were highly relevant
witnesses, particularly given that the licensees Petitioners highlighted in their motion
papers—Apple—does not operate in the DCI-compliant digital cinema space. See
Dkt. No. 28 at 10; Appx43.

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      C.      The District Court Did Not Abuse Its Discretion by Finding the
              Convenience and Cost for Willing Witnesses Factor Weighs
              Slightly Against Transfer or Is Neutral

      Contrary to Petitioners’ contention that the district court’s analysis of the

convenience of willing witnesses is “riddled with errors,” Br. at 29, the district court

did not abuse its discretion in finding this factor was either neutral or weighed

slightly against transfer.

      First, the district court did nothing “arbitrary” in discounting any

inconvenience of a trial in Texas to Intertrust’s party witnesses and not similarly

discounting any inconvenience of a trial in California to Petitioners’ party witnesses,

see Br. at 29, if it did that at all. Intertrust expressly represented that several of its

employee-inventors were willing witnesses who would attend trial in Texas if asked.

Appx 42-43.

      Second, the district court did not “simultaneously discount California’s

convenience” to Dolby’s witnesses under both the availability of compulsory

process factor and the willing witness factors. To the contrary, the district court

weighed the presence of Dolby under the availability of compulsory process factor,

deeming that factor neutral despite the presence of specifically-identified relevant

witnesses in the Eastern District of Texas. See Section II.B, supra; Opinion at 10.

With respect to the willing witnesses factor, the district court correctly noted that

Petitioners did not present evidence showing that Dolby employees were, in fact,



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willing witnesses. Indeed, although Petitioners submitted declarations from two

different Dolby employees in support of their motion, neither one represented that

he would attend a trial voluntarily. See Dkt. Nos. 28-20 & 46-10. Given Petitioners’

lack of evidence regarding willing witnesses and Intertrust’s representations as to its

own witnesses, the district court did not abuse its discretion in finding that this factor

was either neutral or weighed only slightly against transfer.

      D.     The District Court Did Not Abuse Its Discretion in Finding the
             Practical Problems Factor Was Neutral

      Finally, Petitioners argue that “[p]ractical [p]roblems [f]avor California,” Br.

at 31, but this argument largely just repeats Petitioners’ same factual dispute with

the district court regarding the degree of similarity between these cases and the

Dolby action. Here too, the district court acknowledged the potential for “some

commonalities between this case and the Dolby Action.” Order at 13. It did not

ignore facts or factors; it simply did not give them the weight Petitioners would have

preferred.

      Petitioners also complain that, in another part of the district court’s order

(regarding administrative difficulties from court congestion), the district court found

that the delays a transferee court would face “considering the time already invested

in this case” by the district court weighed against transfer. Notably, Petitioners do

not (and cannot) dispute that these cases would be substantially delayed if they were

transferred. Despite being filed shortly after the Dolby case, there is a Markman


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order in these cases, a rapidly approaching fact discovery cutoff, and a March 4,

2021 trial date approaching, while the Markman hearing in the Dolby case has yet

to occur and no trial date has been set. Instead, Petitioners argue that the district

court’s lost investment “is a purported problem purely of the court’s own making”

because “[t]he only reason that time was invested in this case is because the court

waited approximately ten months to rule on the transfer motion.” Br. at 31. In fact,

Petitioners’ own delay in pursuing transfer—first by waiting more than three months

to file their motion to transfer and then by “fail[ing] to employ any strategy to

pressure the district court to act” on its motion for several months once fully

briefed—“militates against granting this extraordinary and largely discretionary

remedy.” In re Apple Inc., 456 F. App’x 907, 908 (Fed. Cir. 2012); see also In re

Wyeth, 406 F. App’x 475, 477 (Fed. Cir. 2010) (“Without reasonable promptness on

the part of the movant, a case proceeds, requiring the court to expend time and effort

that might become wasted upon transfer.”). It certainly does not change the fact that

transfer will certainly delay the trial of these cases by at least several months. The

district court did not abuse its discretion in finding that the practical problems factor

was neutral or that the administrative difficulties from court congestion weighed

against transfer.

                                        *        *     *




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      Petitioners’ factor-specific arguments boil down to disputes regarding how

the district court exercised its ample discretion in weighing each factor. None of

these complaints amounts to a mandamus-worthy issue. “While it is true that this

court has entertained the writ in [the transfer denial] context, this court has

importantly granted mandamus only where the district court has denied

a transfer motion without so much as considering the merits or the court blatantly

deviates from [certain] stated principles.” Apple, 456 F. App’x at 908-09. That did

not occur here; the district court considered the merits, prepared a detailed opinion,

and did not “blatantly deviate[]” from the law. Indeed, this Court has previously

found that a similar transfer denial—involving local and nearby defendants and

witnesses and in-district evidence—is not mandamus-worthy. See In re Apple Inc.,

456 F. App’x 907, 909 (Fed. Cir. 2012) (denying mandamus of transfer denial and

distinguishing cases granting mandamus on the ground that “[a]s compared to those

cases in which this court granted mandamus, here there are fewer defendants in the

Northern District of California and potential evidence identified in the Eastern

District of Texas, along with defendants and witnesses that will find it easier and

more convenient to try this case in the Eastern District of Texas”).


                                  CONCLUSION

      For the foregoing reasons, the Petition for Writ of Mandamus should be

denied. The district court acted well within its discretion in declining to transfer


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these cases pursuant to the first-to-file rule (which does not apply) and the “customer

suit exception” (which both does not apply and was expressly disclaimed by

Petitioners in the proceedings below). Moreover, the district court did not clearly

abuse its discretion or reach a patently erroneous result in balancing the private and

public interest factors to conclude that Petitioners had not met their heavy burden”

of showing the that the Northern District of California was a “clearly more

convenient” venue. There is no basis for disturbing the district court’s sound and

reasonable exercise of its discretion.


Respectfully submitted,

DATED: October 30, 2020                  QUINN EMANUEL URQUHART &
                                         SULLIVAN, LLP



                                         By /s/ Tigran Guledjian
                                           Tigran Guledjian

                                           Attorneys for Respondent
                                           Intertrust Technologies Corporation




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Case No. 21-103

In re Cinemark Holdings, Inc., AMC Entertainment Holdings, Inc., and Regal
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                                      By /s/ Tigran Guledjian
                                        Tigran Guledjian
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                                        Intertrust Technologies Corporation




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      United States District Court for the Eastern District of Texas
      Sam B. Hall, Jr. Federal Building and U.S. Courthouse
      100 East Houston Street
      Marshall, TX 75670

      District Court Judge

DATED: October 30, 2020



                                      By /s/ Tigran Guledjian
                                        Tigran Guledjian
                                        Counsel for Respondent
                                        Intertrust Technologies Corporation




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                                    By /s/ Tigran Guledjian
                                      Tigran Guledjian
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        APPENDIX A
SEALED HEARING TRANSCRIPT
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[HEARING TRANSCRIPT, DKT. NO. 146, PAGES 1-54
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